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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

                                                      ECF Case
 IN RE:
                                                      MDL No. 2542
 KEURIG GREEN MOUNTAIN SINGLE
 SERVE COFFEE ANTITRUST                               Master Docket No. 1:14-md-2542-VSB
 LITIGATION
                                                      Hon. Vernon S. Broderick


 JBR, Inc. (D/B/A ROGERS FAMILY                       1:14-cv-04242-VSB
 COMPANY),

          Plaintiff/
          Counterclaim Defendant,

          v.

 KEURIG GREEN MOUNTAIN, INC.
 (F/K/A GREEN MOUNTAIN COFFEE
 ROASTERS, INC. AND AS SUCCESSOR
 TO KEURIG, INC.),

          Defendant/
          Counterclaim Plaintiff.



     PLAINTIFF JBR’S NOTICE OF MOTION AND MOTION TO EXCLUDE THE
                  PROPOSED TESTIMONY OF MARK WOOD

       PLEASE TAKE NOTICE THAT, upon Notice of this Motion, and the concurrently filed

documents, including the Memorandum of Law and the supporting Declaration of Mario Moore

and the exhibits attached thereto, and upon other records on file in this matter and all of the papers

and proceedings heretofore had herein, and upon any further material and argument presented to

the Court at the time of any hearing or oral argument, Plaintiff JBR, Inc. (d/b/a Rogers Family

Company) hereby moves this Court, before the Hon. Vernon S. Broderick, at the United States

Courthouse, 40 Foley Square, New York, New York, for an Order granting Plaintiffs’ motion to


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exclude certain opinions and testimony of Defendant Keurig’s designated expert Mark Wood,

pursuant to Rules 403 and 702 of the Federal Rules of Evidence.

       JBR respectfully requests that oral argument on this Motion be set for a date and time by

the Court.

Dated: August 18, 2021                             Respectfully submitted,


                                            By:     /s/ Daniel Johnson Jr.
                                                   Daniel Johnson Jr. (CA Bar No. 57409)
                                                   Mario Moore (CA Bar No. 231644)
                                                   Robert G. Litts (CA Bar No. 205984)
                                                   DAN JOHNSON LAW GROUP, LLP
                                                   1350 Old Bayshore Highway, Suite 520,
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                                                   Counsel for Plaintiff
                                                   JBR, Inc. d/b/a Rogers Family Company




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